UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA
                                                              DECLARATION
                -v.-
                                                              18 Cr. 224 (AJN)
 ALI SADR HASHEMI NEJAD,

                                      Defendant.


       I, EMIL J. BOVE III, pursuant to Title 28, United States Code, Section 1746, declare under

penalty of perjury:

       1) I am an attorney admitted to the bar of the State of New York and the bar of this Court.

I respectfully submit this declaration in response to the Court’s September 16, 2020 Order. That

Order requested, among other things, information concerning my awareness of and involvement

in disclosure issues relating to a document marked GX 411 at the trial in this matter, which took

place between March 2 and March 16, 2020. (See Dkt. No. 379 at 32).

       2) I have been an Assistant United States Attorney at the U.S. Attorney’s Office for the

Southern District of New York since October 1, 2012. Since September 19, 2019, Shawn G.

Crowley and I have been Co-Chiefs of the Office’s Terrorism and International Narcotics Unit

(the “Unit”). Prior to becoming a Co-Chief of the Unit, I served as a line prosecutor in the Unit

for approximately five years beginning on July 30, 2014.

       3) As one of the two Co-Chiefs of the Unit, I share responsibility for overseeing

investigations and prosecutions by prosecutors in the Unit, including the investigation and

prosecution of this matter, which was handled by AUSAs assigned to the Unit and by a prosecutor

from the Manhattan District Attorney’s Office cross-designated as a Special Assistant United

States Attorney for purposes of the case. My oversight responsibilities include providing guidance
to prosecutors regarding discovery and disclosure issues, helping to train prosecutors, and fostering

a culture that prioritizes ethical conduct and candor to the Court and to adversaries. As a Unit

chief, I necessarily share responsibility for any failures in this regard, and for remediating those

failures.

        4) On March 9, 2020, I committed to the Court that Co-Chief Crowley and I would

undertake efforts to address the discovery and disclosure issues in this matter. (Tr. 996). These

steps have included the following:

                a) Overseeing the post-trial discovery diligence that led to additional disclosures

to the defense and to the decision to seek dismissal of Indictments in this case;

                b) Discussing this case with each AUSA in the Unit, individually and as a group;

                c) Talking to each AUSA in the Unit about other assigned cases and investigations

in order to evaluate and identify any other staffing, resource, discovery, or disclosure issues;

                d) Participating in a training session with members of the Unit regarding

disclosure issues, which included a segment conducted by a member of the Office’s Disclosure

Committee as well as a segment that was specific to the Unit’s work, such as classified information

handling, the Classified Information Procedures Act, and prudential searches involving reviewing

case files and related holdings at other agencies for potentially discoverable information; and

                e) Discussing with the executive staff of the Office issues related to Office policy,

training, staffing, and technological support, based in part on our findings from the foregoing post-

trial diligence, review, and training activities, as part of the effort to address the concerns identified

in the Court’s September 16, 2020 Order.




                                                    2
       5) My answers to the Court’s questions, as set forth more fully below, are as follows:

               a) I first learned of the existence of GX 411 during a telephone call with AUSA

Stephanie Lake at approximately 10:08 p.m. on March 7, 2020, after the trial team had disclosed

the document to defense counsel that afternoon. See infra Section I.

               b) Prior to the night of March 7, I had no knowledge that GX 411 existed or was

in the Government’s possession, and therefore was unaware that GX 411 had not previously been

disclosed to the defense. See infra Section II.

               c) I do not recall any communications regarding GX 411 or its disclosure prior to

the communication described in paragraph 5(a) above. See infra Section III.

               d) I do not recall seeing the contents of GX 411 until the afternoon of March 8,

2020. Around the time that I first saw the document that afternoon, I recognized that there were

exculpatory aspects to the document. See infra Section IV.

               e) I did not draft the Government’s March 8, 2020 10:00 p.m. letter. (Dkt. No.

277). AUSA Michael Krouse emailed me a draft of the letter at approximately 9:49 p.m., and I

subsequently discussed the draft with Co-Chief Crowley and AUSA Krouse during a conference

call that lasted approximately one minute and ended at approximately 9:53 p.m. I did not delete,

or authorize the deletion of, the sentence in the 9:49 p.m. draft of the letter that stated, “The

Government did not specifically identify that GX 411 had not previously been produced in

discovery.” I did not draft, or propose, the phrase in the filed version of the letter that stated, “The

Government made clear that GX 411 was a newly marked exhibit. . . .” See infra Section V.

               f) When I addressed the Court on the morning of March 9, 2020, I had not yet

realized that the accurate and responsive sentence from the 9:49 p.m. draft that I reviewed the night

before had been removed from the filed version of the letter. I identified this modification to the

                                                   3
9:49 p.m. draft on or about June 9, 2020, the day on which the Court issued an Order containing

questions related to disclosure issues in the case. (See Dkt. No. 350). I reported this information

to Associate United States Attorney John McEnany on the day I identified the change. See infra

Section VI.

  I.   When did you first learn of GX 411?

       6) I first learned of the existence of GX 411 during a telephone call with AUSA Lake on

the night of Saturday, March 7, 2020. According to telephone records obtained by the Office and

which I have reviewed, my call with AUSA Lake occurred at approximately 10:08 p.m. that night,

and lasted approximately nine minutes. I described the call to Co-Chief Crowley in text messages

sent after the call concluded. (See Ex. 1). I believe that the primary focus of the call was issues

related to a letter that the trial team was drafting and ultimately filed at docket entry 272, and I do

not recall having a thorough discussion of the substance of GX 411 with AUSA Lake that

night. According to my text messages with Co-Chief Crowley, AUSA Lake informed me,

consistent with subsequently filed email correspondence (see Dkt. No. 280-1 at 3), that the trial

team “can’t understand how it’s exculpatory” and defense counsel had responded that “it was ‘self

evident’ why.” (Ex. 1). Consistent with guidance that Co-Chief Crowley and I had provided to

the trial team on discovery and disclosure issues dating back to at least approximately October

2019 (see, e.g., Dkt. Nos. 144, 153, 163, 168), I expected that we would further discuss the issue

as a group the following day.

 II.   When did you first realize that GX 411 had not been disclosed to the defense?
       Why did you not immediately disclose the document at that time?

       7) It is my understanding that the trial team disclosed GX 411 to the defense, via email,

at approximately 4:04 p.m. on March 7, 2020. I first became aware of the existence of the


                                                  4
document, as described above, in a conversation with AUSA Lake later that night. Prior to that

conversation, I had no knowledge that the document existed or was in the Government’s

possession, and therefore no knowledge that the document was subject to disclosure and had not

been turned over.

III.   What specific communications did you have regarding GX 411 or the disclosure of
       GX 411 with other prosecutors, whether oral, written, or electronic in any form?
       When did these communications occur? Attach any record you have of any such
       communication

       8) All of my communications regarding GX 411 occurred after the trial team disclosed

the document to the defense. In addition to the March 7, 2020 telephone call with AUSA Lake

and the text messages with Co-Chief Crowley described in paragraph 6 above, I participated in a

series of additional oral and electronic communications regarding GX 411 during the trial. The

communications during the trial regarding GX 411 and related disclosure issues that I recall and/or

have a record of are described below and attached hereto.

       9) During the afternoon and night of March 8, 2020, I participated in oral and electronic

communications with Co-Chief Crowley, the executive staff of the Office, and members of the

trial team regarding the disclosure of GX 411. I cannot specifically recall the timing of each

conversation or which members of the trial team participated in each of them. I do recall that over

the course of those communications, based on the information provided by the trial team, Co-Chief

Crowley and I conveyed to the trial team—and to the executive staff—our view that GX 411

should have been disclosed to the defense sooner; that GX 411 was not, in fact, entirely

inculpatory, as the trial team appeared to believe; and that the trial team should acknowledge to

the defense and to the Court that we had made a mistake by failing to timely disclose the document.




                                                5
       A. March 8, 2020 Communications Regarding the Defendant’s First Submission

       10) At approximately 4:03 p.m. on March 8, AUSA Krouse sent to me and others a copy

of a letter filed by the defense relating to GX 411 (Dkt. No. 274). (See Ex. 2). In the letter, defense

counsel explained why they viewed GX 411 as exculpatory and asked the Court to give a curative

instruction to the jury regarding the late production of the document. Around the time of AUSA

Krouse’s email, the Court issued an Order directing the trial team to respond to the defense

submission by 7:00 p.m. (See Dkt. No. 286).1

       11) At approximately 4:06 p.m., in response to a request from Co-Chief Crowley, AUSA

Krouse emailed me and others a copy of GX 411. (See Ex. 3).

       12) At approximately 4:16 p.m., in an effort to understand how the trial team had come into

possession of GX 411 and why it previously had not been disclosed, I asked AUSAs Lake, Krouse,

and Jane Kim to provide me with a copy of the email they had described in which SAUSA Garrett

Lynch had sent the document later marked as GX 411 to the AUSAs. (See Ex. 4). AUSA Lake

responded at approximately 4:20 p.m. by forwarding a January 10, 2020 email from SAUSA

Lynch attaching the document. (See Ex. 5).

       B. March 8, 2020 Communications Regarding the Court’s First Order

       13) At approximately 4:32 p.m., and again at approximately 4:54 p.m., I asked the trial

team to come to my office for a meeting. (See Exs. 6, 7). At approximately 5:00 p.m., the Court

issued another Order relating to GX 411, directing the prosecutors to include in the submission

due by 7:00 p.m. an explanation of why GX 411 was not previously disclosed and what led to its



1
  I do not have an independent recollection of the time at which the Court issued the Order, but
understand from the July 2, 2020 letter filed by Associate United States Attorney McEnany that
the Court issued the Order at approximately 4:04 p.m. (See Dkt. No. 354 at 13).

                                                  6
disclosure on March 7. (See Dkt. No. 287). I cannot recall whether I in fact met with the trial

team prior to receiving the Court’s second Order, which AUSA Lake forwarded to Co-Chief

Crowley and me at approximately 5:03 p.m. (See Ex. 8).2

       14) By the evening on March 8, Co-Chief Crowley and I had conveyed, in person, to the

members of the trial team who were in the office at the time, that GX 411 contained exculpatory

information, and we instructed each member of the trial team to review the case files at the Office

and at the Manhattan District Attorney’s Office for any additional discoverable material. We also

instructed the trial team to complete the review that night so that the team could either address any

other disclosure issues uncovered by the review, or assure the Court and the defense the following

morning that the Government had otherwise complied with its discovery obligations.

       15) Co-Chief Crowley and I briefed members of the Office’s executive staff as our

understanding of the situation developed. In the first of those briefings, at approximately 5:20

p.m. on March 8, I emailed a copy of the Court’s Order (Dkt. No. 287) to Laura Grossfield Birger,

the Chief of the Criminal Division, copying Co-Chief Crowley, asking to speak with her. (See Ex.

9). Criminal Chief Birger responded to my email at approximately 5:35 p.m., and it appears from

the email thread that Co-Chief Crowley and I spoke to Criminal Chief Birger from Co-Chief

Crowley’s office shortly thereafter. (See Ex. 10). We explained to Criminal Chief Birger our then-

existing understanding of the trial team’s handling and disclosure of GX 411, and our instructions

to the team that they should accept responsibility for the untimely disclosure, review the case file

to correct any other issues and ensure compliance with discovery obligations, and be prepared to




2
 I did not enter a notice of appearance in this case until June 5, 2020. Therefore, during the trial,
court filings in the case were not being sent to me directly.

                                                 7
answer detailed questions from the Court on the morning of March 9, 2020.

       16) At approximately 6:25 p.m., AUSA Lake circulated a draft response to the Court’s

Orders from that afternoon (Dkt. Nos. 286, 287). (See Ex. 11). Co-Chief Crowley and I exchanged

a series of drafts with the trial team, and AUSA Lake ultimately filed the letter at docket entry 275.

(See Exs. 12, 13). Exhibit 14 is a redline comparing AUSA Lake’s first draft to the version of the

letter that Co-Chief Crowley sent AUSA Lake before AUSA Lake filed the letter. As filed, the

letter apologized to the Court and counsel for the untimely disclosure, acknowledged the

exculpatory dimensions of GX 411, and offered a stipulation regarding the absence of OFAC

enforcement action in the matter.

       17) At approximately 7:08 p.m., Co-Chief Crowley sent an email asking the trial team to

come to her office. (See Ex. 15). I do not have an independent recollection of the meeting,

although there is a reference to the meeting in the email described below in paragraph 19. (See

Ex. 17 (“Tonight, our team is scouring the case file – here and at DANY – to verify that we are in

compliance with our disclosure obligations. They are also preparing to answer detailed factual

questions from Judge Nathan tomorrow morning about the situation, which we discussed during a

team meeting after we filed the letter.”)).

       18) At approximately 7:32 p.m., I sent an email to the trial team reminding them to contact

OFAC, as we had committed to do in the recently filed letter (Dkt. No. 275). At approximately

7:43 p.m., AUSA Kim responded, “I emailed them. I can call them now.” (Ex. 16).

       19) At approximately 7:53 p.m., I sent an email to additional members of the executive

staff—Geoffrey Berman, Audrey Strauss, Craig Stewart, and Ilan Graff—as well as Criminal

Chief Birger and Co-Chief Crowley. I attached to the email the parties’ submissions regarding

GX 411, and summarized the instructions that Co-Chief Crowley and I had conveyed to the trial

                                                  8
team in an effort to address the situation. (See Ex. 17).3 Criminal Chief Birger responded briefly

to the email at approximately 8:22 p.m., and I replied that we would keep her updated regarding

the situation. (See Ex. 18).

       C. March 8, 2020 Communications Regarding the Court’s Third Order

       20) At approximately 9:15 p.m., AUSA Kim emailed Co-Chief Crowley and me a copy of

the Court’s third Order relating to GX 411. (See Ex. 19). I was at my apartment when I received

AUSA Kim’s email and stayed there for the remainder of the night. The Order directed the

Government to explain, by 10:00 p.m., among other things, “precisely when and how it realized

that [GX 411] had erroneously been withheld and when, if at all, upon learning of the failure to

disclose this was communicated to the defense.” (Dkt. No. 290). Beginning at approximately 9:16

p.m., AUSA Crowley and I exchanged text messages regarding our obligation to respond to the

Order within the hour, and expressing frustration at the time pressure. (See Ex. 20).

       21) At approximately 9:22 p.m., I replied to AUSA Kim’s 9:15 p.m. email: “Thanks guys.

We’re around to turn the draft.” (See Ex. 21).

       22) At approximately 9:31 p.m., Co-Chief Crowley asked the trial team to forward the

March 7 email from the trial team to defense counsel first transmitting GX 411. At approximately

9:41 p.m., AUSA Kim replied by attaching the relevant email. (See Ex. 21).

       23) At approximately 9:40 p.m., I sent Co-Chief Crowley a text message expressing

frustration that the trial team had not yet sent us a draft response to the Court’s Order. (See Ex.

22).




3
  In response to this email, Chief Counsel Stewart promptly reminded me that he was recused from
the case.

                                                 9
       24) At approximately 9:49 p.m., AUSA Krouse forwarded me and Co-Chief Crowley by

email a draft response to the Court’s third Order. (See Ex. 23). The letter was due to be filed with

the Court approximately ten minutes later, at 10:00 p.m., and both Co-Chief Crowley and I had

left the office. According to the email thread forwarded by AUSA Krouse with the 9:49 p.m. draft,

it appears that AUSA Lake had sent a draft of the letter to the other members of the trial team at

approximately 9:31 p.m. that night. (See Ex. 23).

       25) At approximately 9:51 p.m., according to telephone records, I used my personal

cellphone to call Co-Chief Crowley on her work cellphone.4 At approximately 9:52 p.m., Co-

Chief Crowley added AUSA Krouse to the call. The telephone records indicate that the conference

call with AUSA Krouse lasted approximately one minute. At approximately 9:53 p.m., I used my

work cellphone to call Co-Chief Crowley’s work cellphone. That call lasted approximately six

minutes. AUSA Krouse did not participate in the six-minute call. See n.4, supra. Although I do

not have a specific recollection of this, the telephone records lead me to believe that I used my

personal cellphone to call Co-Chief Crowley so that while I was speaking with Co-Chief Crowley

and AUSA Krouse I could use my work cellphone to view the 9:49 p.m. draft that AUSA Krouse

had emailed to me.




4
  Associate United States Attorney McEnany provided these telephone records to me beginning
on October 2, 2020. On October 11, Co-Chief Crowley and I brought to his attention the fact that
the records reflect a conference call with AUSA Krouse that began at 9:52 p.m. rather than 9:53
p.m., lasting approximately one minute, rather than approximately six minutes, as had been
erroneously stated in AUSA McEnany’s letter to the Court dated July 2, 2020. (See Dkt. No. 354
at 14-15 (“At 9:53 p.m., Chiefs Crowley and Bove called AUSA Krouse. Mobile phone records
indicate this call lasted until 9:59 p.m., one minute before the Court’s deadline.”)). On October
15, 2020, AUSA McEnany informed me via email, in substance, that an investigator employed by
the Office had reviewed the relevant records and agreed that the conference call between and
among myself, Co-Chief Crowley, and AUSA Krouse began at 9:52 p.m. and lasted approximately
one minute.
                                                 10
       26) During the one-minute conference call, I recall that in addition to discussing the 9:49

p.m. draft of the letter, we also discussed the fact that AUSA Krouse would need to be prepared to

answer questions from the Court regarding GX 411 the following morning because AUSA Lake

was unavailable due to illness. I do not recall seeing or being shown another draft of the letter

before AUSA Krouse filed the submission at docket entry 277. The Court’s specific questions

regarding the letter are addressed below in Part V.

       27) At approximately 9:55 p.m. on March 8, 2020, AUSA Kim sent an email inquiring

about the status of the filing due to the Court at 10:00 p.m. (See Ex. 24).

       28) According to telephone records, I spoke to Co-Chief Crowley for approximately 15

minutes beginning at 10:04 p.m., and for approximately three minutes beginning at 10:19 p.m.

Co-Chief Crowley added Criminal Chief Birger to the call that began at approximately 10:04 p.m.

During that conference call with Criminal Chief Birger, which lasted approximately 13 minutes,

Co-Chief Crowley and I provided a status report, discussed Criminal Chief Birger notifying the

Court in the morning, ex parte, that AUSA Lake would be absent from Court due to her illness,

and agreed that the trial team would also provide notice to defense counsel the next morning

regarding AUSA Lake’s illness.

       29) At approximately 10:31 p.m., I sent a text message to Co-Chief Crowley expressing

my expectation that the Court would have additional questions regarding GX 411 and concern that

the Court may issue another Order during the night of March 8, 2020. (See Ex. 25).

       D. March 8, 2020 Communications Regarding the Defense Reply Submissions

       30) At approximately 11:03 p.m., Co-Chief Crowley sent an email to AUSAs Kim and

Krouse requesting a copy of any defense reply to the trial team’s most recent submission. At

approximately 11:15 p.m., AUSA Kim responded by attaching the first defense reply (Dkt. No.

                                                11
279). (See Ex. 24). At approximately 11:19 p.m., AUSA Krouse circulated the same defense

submission. (See Ex. 26).

       31) Roughly around the time of these emails, Co-Chief Crowley sent me via text message

a copy of the email thread filed by the defense, at docket entry 279-1, in connection with their first

reply submission. (See Ex. 27). The email thread contained an exchange between the trial team

and the defense between 4:57 p.m. and 5:36 p.m. on March 7, 2020, regarding the production and

significance of GX 411. In the email exchange, after the defense indicated GX 411 had not

previously been produced, AUSA Kim responded: “We thought it was part of the Commerzbank

subpoena that was produced in discovery. We now understand that it came from an unrelated

DANY investigation, and therefore was not in the Commerzbank subpoena return.” (Dkt. No.

279-1 at 2). After Co-Chief Crowley sent me the email chain, we exchanged text messages

expressing frustration that we had not previously seen the full correspondence between the trial

team and the defense, as well as frustration regarding the language used by the trial team in that

email correspondence. (See Ex. 27). During the text-message exchange with Co-Chief Crowley,

I quoted AUSA Kim’s phrase “We now understand” from the email and characterized that phrase

as a “Flat lie.” In hindsight, I believe that is an unfair characterization. At the time, I was

concerned that the phrase could be read to suggest, inaccurately, that the trial team believed GX

411 had been produced in pretrial discovery until the defense team noted otherwise, when in fact

the trial team knew at the time they first emailed the defense and proposed to offer GX 411 as an

exhibit that the document had not previously been produced. Co-Chief Crowley and I concluded

the 11:05 p.m. text-message exchange with communications regarding whether we should

reemphasize to the trial team the need to review the case file; we elected not to do so based on the

concern that reiterating the instruction would add to the stress the trial team faced at the time. (See

                                                  12
Ex. 27).

          32) At approximately 11:30 p.m., AUSA Kim forwarded Co-Chief Crowley and me the

defense’s second reply (Dkt. No. 280), which included additional emails between the trial team

and defense counsel at docket entry 280-1 that I had not yet seen. (See Ex. 28). Co-Chief Crowley

and I then exchanged additional text messages expressing further frustration about the trial team’s

explanations to us regarding GX 411 up to that point. (See Ex. 29). In particular, I wrote “this

stuff is trickling in and they aren’t telling us . . . the whole story,” and Co-Chief Crowley wrote,

“This is now the third time we’ve learned a material fact about how this was turned over from

Nathan or the defense.” (Ex. 29).

          33) At approximately 11:35 p.m., Co-Chief Crowley sent an email asking AUSAs Kim and

Krouse: “Did we (it doesn’t matter who) respond to their last email at 1:30? Can you guys please

forward us all correspondence relating to this document?” (Ex. 30). At approximately 11:36 p.m.,

AUSA Kim replied: “We spoke to them by phone at 2:30 and walked through each category of

their questions. I think this is it but will double check.” (Ex. 31).

          E. March 9, 2020 Communications

          34) On Monday, March 9, 2020, at approximately 5:43 a.m., I sent an email to Criminal

Chief Birger that summarized my understanding of the situation at that time, attached some of the

relevant filings, and noted that Co-Chief Crowley and I had “found the [trial team’s] answers to

the [Court’s] questions to be unfortunate, particularly the fact that the team did not flag for defense

counsel that the document was being produced for the first time.” (Ex. 32). In hindsight, I do not

believe that I fully appreciated at the time I sent this email the material differences between the

filed version of the letter at docket entry 277 and the 9:49 p.m. draft that I reviewed the night

before.

                                                  13
       35) At approximately 5:48 a.m., AUSA Kim sent Co-Chief Crowley and me the Court’s

March 9, 2020 Order, issued at approximately 1:08 a.m., directing the parties to appear at 8:30

a.m. and for the trial team to “be prepared to discuss, among other matters, its representation to

the Court (in response to the Court’s March 8, 2020 Order) that it ‘made clear’ in its March 7

correspondence with Mr. Sadr’s counsel ‘that GX 411 was a newly marked exhibit.’ See Dkt. No.

277.” (Ex. 33).

       36) At approximately 6:57 a.m., Co-Chief Crowley forwarded the Court’s Order to

Criminal Chief Birger. (See Ex. 33).

       37) Beginning at approximately 7:13 a.m., Co-Chief Crowley and I exchanged text

messages expressing that the trial team would be under scrutiny from the Court when proceedings

resumed that morning. (See Ex. 34). During the exchange, I wrote that the trial team had “done

some pretty aggressive stuff here over the last few days.” In the same exchange, Co-Chief Crowley

wrote, “we lied in that letter.” (Ex. 34).

       38) At approximately 7:24 a.m., Co-Chief Crowley emailed AUSAs Kim and Krouse,

encouraging them to accept responsibility that morning: “Thanks guys. I know you’ve got this,

but I think we need to fall on our sword big time here. We didn’t make that clear in the transmittal

email and shouldn’t have represented that we did. We’ll see you soon. It’s going to be ok.” At

approximately 7:34 a.m., AUSA Krouse replied, “I’m ready to fall. I’m here if you’d like to

discuss.” (Ex. 35).

       39) At approximately 8:03 a.m., Criminal Chief Birger notified Co-Chief Crowley and me

via email that, due to problems with her commute, she would not be available to contact the Court

that morning regarding AUSA Lake’s illness. (See Ex. 36). Co-Chief Crowley agreed to place

the call instead. At approximately 8:30 a.m., Co-Chief Crowley reported via email that the Court

                                                14
had asked during the call “if we were aware of the disclosure issues,” that Co-Chief Crowley had

“assured [the Court] that we are and have been working with the team on them all weekend,” and

that it seemed “important to [the Court] that this has been elevated.” (Ex. 36).

       F. March 9, 2020 Communications Regarding Additional Diligence Efforts and the
          Government’s March 9, 2020 Submission

       40) On the morning of March 9, 2020, I traveled directly from my apartment to the

courthouse. While I observed the proceedings, I expressed concern to Co-Chief Crowley in a text

message that the case would end in a mistrial. (See Ex. 37). Following the colloquy with the Court

in which I participated (Tr. 976-98), Co-Chief Crowley, AUSA Krouse, and I exchanged text

messages regarding the need for current and former members of the prosecution team to examine

their past interactions relating to the case with OFAC, if any, and we asked AUSA Krouse to notify

us if there was any further discussion of disclosure issues at the trial so that we could return to the

courtroom. (See Ex. 38).

       41) Throughout the rest of the day, and into the night, I helped the trial team and prosecutors

previously assigned to the case conduct diligence relating to the filing directed by the Court (see,

e.g., Tr. 1005, 1207, 1226); monitored the trial proceedings and provided guidance to the trial team

regarding developments with the diligence efforts (see, e.g., Tr. 1222-24); updated members of the

executive staff regarding the situation; and reviewed, edited, and implemented feedback and

guidance from the executive staff regarding the trial team’s submission that night (Dkt. No. 283).

(See Exs. 39-96).5




5
  Exhibit 41 is a set of handwritten notes dated March 9, 2020. I do not recall when I took the
notes and, based on the differences in the ink, it appears that I may have added to the entries over
time.
                                                  15
       G. March 10, 2020 Communications Regarding the Admission of GX 411 and Related
          Curative Measures and Trial Strategy

       42) After the trial team filed the March 9, 2020 submission (Dkt. No. 283), Co-Chief

Crowley and I continued to monitor the progress of the trial and provide guidance to the trial team

regarding, among other things, curative measures related to the untimely disclosure of GX 411 and

related submissions to the Court, the cross-examination of the defendant, and arguments that the

team could reasonably make in summations regarding GX 411. (See Exs. 97-114).

IV.    When did you first recognize GX 411 as having exculpatory value?

       43) I recognized that there were exculpatory aspects of GX 411 during the afternoon of

March 8, 2020, around the time that I was provided with a copy of the document. (See Ex. 3). At

that point, the document had been produced to the defense.

 V.    With specificity, what role did you play in drafting the Government’s March 8, 2020
       letter? See Ex. C. What role did you play in deleting the accurate sentence responsive
       to the Court’s question that was originally drafted by AUSA-1? See Dkt. No. 354 at
       14 (“The Government did not specifically identify that GX 411 had not previously
       been produced in discovery.”). What role did you play in drafting the sentence that
       the Court has concluded was a misrepresentation? See Dkt. No. 277 at 1 (“The
       Government made clear that GX 411 was a newly marked exhibit . . . .”). Why was
       this sentence changed? Attach any communications related to this change.

       44) I did not draft the trial team’s second March 8, 2020 letter. (Dkt. No. 277). As

described above, AUSA Krouse forwarded a draft of the letter to Co-Chief Crowley and me at

approximately 9:49 p.m. that night. (See Ex. 23). At the time, I was at my apartment without

access to a computer that could be used to review or edit the draft. Based on the above-described

telephone records, see paragraph 25 and footnote 4, supra, I believe that I reviewed the draft on

my work cellphone, including while using my personal cellphone to speak to Co-Chief Crowley

beginning at approximately 9:51 p.m., and while participating in a conference call with AUSA

Krouse at approximately 9:52 p.m. that lasted approximately one minute. I do not recall reviewing

                                                16
another draft of the letter before AUSA Krouse filed it. Exhibit 115 is a redline comparing the

9:49 p.m. draft to the filed version of the letter.

        45) I played no role in deleting the sentence from the 9:49 p.m. draft that stated: “The

Government did not specifically identify that GX 411 had not previously been produced in

discovery.” The sentence is accurate and responsive to the Court’s question that night and I did

not authorize or suggest it be deleted or changed. Nor did Co-Chief Crowley.

        46) I did not draft, or propose, the sentence from the filed version of the letter that stated:

“The Government made clear that GX 411 was a newly marked exhibit and that we intended to

offer it, and asked the defense if they would stipulate to authenticity.” (Dkt. No. 277).6 I do not

recall that sentence being mentioned during the one-minute conference call with AUSA Krouse

on the night of March 8. In particular, I do not recall AUSA Krouse explaining that he planned to

modify or replace the accurate and responsive sentence, and I believe I would recall such a

discussion if it had occurred.




6
  I also did not draft, or propose, the other phrase identified in the Court’s September 16, 2020
Order: “The Government promptly had a paralegal mark [GX 411] as an exhibit . . . .” (Order at
26). I had little, if any, information about this issue and was in no position to suggest characterizing
the timing of the team’s communications in that manner to AUSA Krouse during the one-minute
conference call on the night of March 8, 2020.

                                                      17
VI.      When the Court asked specific questions at trial on March 9, 2020 regarding the
         Government’s misrepresentation, were you aware that the accurate sentence
         responsive to the Court’s question had been edited or deleted? If so, explain why this
         was not conveyed to the Court.

         47) When I addressed the Court on the morning of March 9, 2020, I had not yet realized

that the 9:49 p.m. draft of the March 8, 2020 letter contained an accurate and responsive sentence

that was removed or edited before the letter was filed. Although I apologized to the Court

regarding the sentence from the filed version of the letter that the Court determined was a

misrepresentation (Tr. 997), I was not aware of the extent of the issues with the trial team’s

handling of GX 411 and the editing of the 9:49 p.m. draft at the time I was speaking, and I would

have addressed the Court differently had I been fully informed. I did not identify the omission of

the accurate and responsive sentence from the filed version of the letter until on or about June 9,

2020, when I compared the 9:49 p.m. draft to the filed version of the letter after the Court directed

the Government to respond to questions regarding disclosure issues in the case. (Dkt. No. 350).

On the day that I realized the responsive sentence had been removed from the 9:49 p.m. draft

before the letter was filed, I reported this information to Associate United States Attorney

McEnany.

Dated:      October 16, 2020
            New York, New York

                                                              /s/
                                                      Emil J. Bove III
                                                      Assistant United States Attorney
                                                      (212) 637-2444




                                                 18
